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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           2:13-CR-00086-GEB
12                   Plaintiff,                          PRELIMINARY ORDER OF
                                                         FORFEITURE
13          v.
14   STORMY MOLLISSA AVERS, aka STORMY
     MYERS,
15
                     Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Stormy Mollissa Avers, aka Stormy Myers, it is hereby ORDERED, ADJUDGED AND

19 DECREED as follows:
20          1.       Pursuant to 18 U.S.C. § 2253, defendant Stormy Mollissa Avers, aka Stormy Myers’

21 interest in the following property shall be condemned and forfeited to the United States of America, to be

22 disposed of according to law:

23                   a. Compaq Computer, Model SR5610F, Serial Number CNX8331FCX; and
                     b. Optical discs containing child pornography.
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25          2.       The above-listed property was used or intended to be used to commit or to promote the

26 commission of violation of 18 U.S.C. § 2251.

27          3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to seize

28 the above-listed property. The aforementioned property shall be seized and held by the U.S. Marshals
                                                     1
29                                                                          Preliminary Order of Forfeiture

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 1 Service, in its secure custody and control.

 2          4.       a.      Pursuant to 18 U.S.C. § 2253(b), incorporating 21 U.S.C. § 853(n), and Local Rule

 3 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice of the

 4 Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 5 General may direct shall be posted for at least 30 consecutive days on the official internet government

 6 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct

 7 written notice to any person known to have alleged an interest in the property that is the subject of the

 8 order of forfeiture as a substitute for published notice as to those persons so notified.
 9                   b.      This notice shall state that any person, other than the defendant, asserting a legal

10 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

11 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

12 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

13          5.       If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

14 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 2253, in which all interests will be

15 addressed.

16          SO ORDERED.

17 Dated: March 31, 2016

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29                                                                                   Preliminary Order of Forfeiture

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